           Case 2:12-cr-00187-TLN Document 115 Filed 07/02/15 Page 1 of 2


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5    Attorney for Defendant
     MANOLO REYES
6

7

8
                                     UNITED STATES DISTRICT COURT
9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                          No. 2:12-CR-187-TLN
12
                        Plaintiff,
13                                                      STIPULATION AND ORDER TO
             v.                                         CONTINUE JUDGEMENT AND
14                                                      SENTENCING DATE
     MANOLO REYES,
15
                        Defendant.
16

17

18           IT IS HEREBY stipulated between the United States of America through its undersigned

19   counsel, Assistant United States Attorney Pual A Hemesath, and defendant MANOLO REYES

20   through his undersigned counsel Dwight Samuel, that the previously scheduled judgement and
21   sentencing date of July 9, 2015, be vacated and the matter be continued to August 13, 2015 at 9:30
22
     am.
23
             The reason for this request is that defendant wishes to see his very ill mother who lives in
24
     Stockton and has no transportion. She has now well enough to travel and now has available to her
25

26   limited transportation options. Once defendant is sentenced his aging ill mother will no longer have

27   the abiility to visit him, no matter where he is housed in California.

28           It is further agreed and stipulated that the ends of justice are served in granting the request

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         Case 2:12-cr-00187-TLN Document 115 Filed 07/02/15 Page 2 of 2


1    and that the continuance of this matter on calendar is in the best interests of the public and the
2    defendant.
3
            I have made contact with the probation officer, Anthony A. Andrews and advised him of the
4
     possible change in sentencing dates and he has no objection.
5
            Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
6

7           So stipulated,

8           Date: July 1, 2015                       /s/ Dwight M. Samuel
                                                       Dwight M. Samuel
9                                                     Attorney for Defendant
                                                        MANOLO REYES
10

11

12          Date: July 1, 2015                        ___/s/_ Paul Hemesath (as authorized on 7-1-15)
                                                           United States Attorney
13                                                          Benjamin B. Wagner
                                                           By Assistant U.S. Attorney
14
                                                            Paul Hemesath
15

16                                                   ORDER
17          The Court, having received, read, and considered the stipulation of the parties, and good
18
     cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. The Court
19
     finds that the ends of justice to be served by granting the requested continuance on calendar of
20
     judgement and sentencing and is in the best interests of the public and the defendant.
21

22          It is ordered that the July 9, 2015 sentencing date be vacated and reset for August 13, 2015 at

23   9:30 a.m.

24   IT IS SO ORDERED.
25   DATED: July 1, 2015
                                                                     Troy L. Nunley
26                                                                   United States District Judge
27

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